Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 1 of 7 PageID #: 49




                   EXHIBIT 6
Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 2 of 7 PageID #: 50


  From:             Nick Oberheiden
  To:               Vasu Sabbella; Sudhakar Vidiyala
  Subject:          FW: [EXTERNAL] Fwd: Ascent Pharmaceuticals: Meeting request
  Date:             Friday, July 21, 2023 3:45:47 PM


  Fyi.


  From: Schwartz, James J <James.J.Schwartz@dea.gov>
  Date: Friday, July 21, 2023 at 2:45 PM
  To: Nick Oberheiden <nick@federal-lawyer.com>
  Subject: RE: [EXTERNAL] Fwd: Ascent Pharmaceuticals: Meeting request

  Received.

  From: Nick Oberheiden <nick@federal-lawyer.com>
  Sent: Friday, July 21, 2023 3:22 PM
  To: Schwartz, James J <James.J.Schwartz@dea.gov>
  Subject: Re: [EXTERNAL] Fwd: Ascent Pharmaceuticals: Meeting request

  Respectfully, following up in light of the described urgency. Any news? Nick Oberheiden


  From: Nick Oberheiden <nick@federal-lawyer.com>
  Date: Wednesday, July 19, 2023 at 10:10 AM
  To: Schwartz, James J <James.J.Schwartz@dea.gov>
  Subject: Re: [EXTERNAL] Fwd: Ascent Pharmaceuticals: Meeting request

  Mr. Schwartz,

  While we are awaiting your introduction to a DEA point of contact, our client is eager to share with
  you a number of (largely unedited) facts and factors to motivate you to expedite the DEA’s quota
  decision to avoid the collapse of our client’s business. We kindly ask you to inform us about the
  DEA’s availability to have an emergency meeting to discuss these matters.


               We need a quota decision immediately or we need in person meeting
             with DEA to understand the problem in granting the quota to Ascent.
              Company is in a position to lay off another 100 employees immediately.
               As per recent meeting with NY investigation team of DEA, there is no
             indication of any diversion or possible diversion issues.
              Inspection is going for 14 months with no progress at all, and we do not
             understand the reasons for so prolonged inspection except finding few
             minor booking keeping issues.
              Quota has been stopped abruptly without any indication and without any
Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 3 of 7 PageID #: 51


          valid reasons.
           Not giving quota to Ascent is a severe punishment without knowing the
          faults on Ascent’s part.
           For the minor civil errors, cannot be given death punishment.
                We don’t know the problem to DEA to grant quota while the
          investigation is in under progress.
               In the span of 14 months inspection, no material event has been
          identified which effects the agency to grant the quota.


  The following are the major impacts on delaying granting the quota to Ascent.

     1.   Lost 70% of revenues since September 2022 which is about $8 to $10
        Million revenues per month.
     2. Received $6 - $8 million penalties so far from the customers for failure
        to supply the controlled drugs.
     3. Invested more than $200 Million to set up the business, R&D, and
        infrastructure.
     4. Forced to breach financial covenants with the banks due to significant
        revenue losses.
     5. Lost total customer base for the business established by our hard work
        over a period of decade.
     6. There is no guarantee how much time it will take to recoup the customer
        base that we lost in last one year.
     7. Laid off approx. 50 employees and lost approx. 70 employees in the last
        one year.
     8. We have commitments to local Industrial Development Agency to create
        some number of jobs. We have committed more than 100 new jobs based
        on the estimated growth of the business. We are supposed to have more
        than 100 employees on top of the number of employees we had in early
        2022.
     9. That means we have 220 less employees as on today when compared to
        the estimated jobs by this time.
     10. Our main goal to start this business is to supply the generic drugs at
        affordable price to the needy patients. But we are failed to do so due to
        lack of quota of the raw materials.
     11. Our R&D Projects in controlled drug area are all struck because of lack
        of raw material quota. We lost millions of dollars that we invested in
        time sensitive R&D projects since the lack of raw materials. All the new
Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 4 of 7 PageID #: 52


          launches are also delayed due to pending responses to FDA as we need
          raw materials to submit responses.


  Sincerely,

  Dr. Nick Oberheiden
  Attorney-at-Law
  On Behalf of Ascent Pharmaceuticals


  From: Schwartz, James J <James.J.Schwartz@dea.gov>
  Date: Monday, July 17, 2023 at 12:09 PM
  To: Nick Oberheiden <nick@federal-lawyer.com>
  Subject: RE: [EXTERNAL] Fwd: Ascent Pharmaceuticals: Meeting request

  No. We will provide a point of contact for you during Mr. Siclari’s absence.

  From: Nick Oberheiden <nick@federal-lawyer.com>
  Sent: Monday, July 17, 2023 12:50 PM
  To: Schwartz, James J <James.J.Schwartz@dea.gov>
  Subject: [EXTERNAL] Fwd: Ascent Pharmaceuticals: Meeting request

  Mr Schwartz— nice meeting you. Will you serve as the new/interim point of contact? Nick

  Dr. Nick Oberheiden
  Attorney-at-Law

  Begin forwarded message:

        From: Nick Oberheiden <nick@federal-lawyer.com>
        Date: July 17, 2023 at 11:42:36 CDT
        To: "Siclari, Edward O" <Edward.O.Siclari@dea.gov>
        Cc: William Newman <will@federal-lawyer.com>
        Subject: Re: Ascent Pharmaceuticals: Meeting request

        Following up from my previous email. Can you please provide a status quo update? We
        strongly believe that our client is entitled to an update— for one, as a registrar; for
        another, based on the ENORMOUS amount of time that has passed without a decision.
        Who could provide an explanation to us why the quota decision takes over a year? Nick

        Dr. Nick Oberheiden
        Attorney-at-Law
Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 5 of 7 PageID #: 53




           On Jul 13, 2023, at 09:46, Nick Oberheiden <nick@federal-lawyer.com>
           wrote:

           It is my understanding that the on-site audit was productive— even
           though, judging from the questions, it appears that at least two
           investigators were largely unfamiliar with even the basics. More than a
           year into the audit, that’s regrettable. Be advised that our client will
           produce subpoenaed information by tomorrow. You were referenced as
           the point of contact for both the audit and the quota— kind of surprising
           since these two matters are separate. In that dual capacity, can you
           please inform yourself about the timeline for the completion of the audit
           and the urgently needed quota decision (ironically, we are already
           approaching next year’s quota application period). Nick

           Dr. Nick Oberheiden
           Attorney-at-Law




                 On Jul 6, 2023, at 17:21, Siclari, Edward O
                 <Edward.O.Siclari@dea.gov> wrote:


                 Thank you. I will let the team know.

                 From: Nick Oberheiden <nick@federal-lawyer.com>
                 Sent: Thursday, July 6, 2023 6:09 PM
                 To: Siclari, Edward O <Edward.O.Siclari@dea.gov>; William
                 Newman <will@federal-lawyer.com>
                 Subject: [EXTERNAL] Re: Ascent Pharmaceuticals: Meeting
                 request

                 Yes sir.


                 From: "Siclari, Edward O" <Edward.O.Siclari@dea.gov>
                 Date: Thursday, July 6, 2023 at 4:53 PM
                 To: Nick Oberheiden <nick@federal-lawyer.com>, Will
                 Newman <will@federal-lawyer.com>
                 Subject: RE: Ascent Pharmaceuticals: Meeting request

                 Does 9:00 a.m. Eastern work?
Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 6 of 7 PageID #: 54



                Sincerely,

                Edward O. Siclari
                Attorney | Diversion Section
                Office of Chief Counsel | Drug Enforcement Administration
                (o) (571) 776-3660 | (c) (571) 488-3722
                Email: Edward.O.Siclari@dea.gov

                From: Nick Oberheiden <nick@federal-lawyer.com>
                Sent: Thursday, July 6, 2023 5:25 PM
                To: Siclari, Edward O <Edward.O.Siclari@dea.gov>; William
                Newman <will@federal-lawyer.com>
                Subject: [EXTERNAL] Re: Ascent Pharmaceuticals: Meeting
                request

                Tuesday works. What time?


                From: "Siclari, Edward O" <Edward.O.Siclari@dea.gov>
                Date: Thursday, July 6, 2023 at 3:29 PM
                To: Nick Oberheiden <nick@federal-lawyer.com>, Will
                Newman <will@federal-lawyer.com>
                Subject: Ascent Pharmaceuticals: Meeting request

                Dr. Oberheiden and Mr. Newman,

                Investigators assigned to the New York Division (NYD) are
                requesting an opportunity to meet with your client, Ascent
                Pharmaceuticals.

                Is your client available to meet at its registered location
                either Monday, July 10, or Tuesday, July 11?

                NYD requests to talk to persons knowledgeable and
                responsible for:
                   1. Entering and removing controlled substances into and
                      from the vault and the corresponding paperwork,
                   2. Controlled substance packaging and shipping
                      procedures and recordkeeping,
                   3. Communication with R&S Solutions regarding orders
                      and shipments,
                   4. Execution and review of DEA Forms 222,
                   5. ARCOS reporting, and
                   6. DEA compliance
Case 2:23-cv-07211-GRB-ARL Document 1-9 Filed 09/27/23 Page 7 of 7 PageID #: 55



                Kindly advise at your earliest convenience whether your
                client will make itself available to discuss matters and
                records pertinent to the investigation and when it will be
                available to do so.

                Sincerely,

                Edward O. Siclari
                Attorney | Diversion Section
                Office of Chief Counsel | Drug Enforcement Administration
                (o) (571) 776-3660 | (c) (571) 488-3722
                Email: Edward.O.Siclari@dea.gov
